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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ONELEGACY                                                    )
1303 W. Optical Dr.                                          )
Azusa, CA 91702                                              )
                                                             )
                                                             )       Case No. 1:23-cv-2915
                                                             )
                       Plaintiff,                            )
                                                             )
                v.                                           )
                                                             )
XAVIER BECERRA, Secretary                                    )
United States Department of                                  )
Health and Human Services,                                   )
200 Independence Avenue, S.W.                                )
Washington, DC 20201,                                        )
                                                             )
                       Defendant.                            )
                                                             )

                                          COMPLAINT

                                       INTRODUCTION

      1.        Plaintiff, OneLegacy, a Medicare-certified Organ Procurement Organization

(“OPO”), by and through its counsel, challenges agency final action taken by the Secretary of the

United States Department of Health and Human Services’ (the “Secretary”), acting through the

Administrator of the Centers for Medicare & Medicaid Services (the “CMS Administrator” or

“Administrator”).

      2.        An OPO is an organization that performs or coordinates retrieving, preserving and

transporting organs and maintains a system of locating prospective recipients for available organs.

OPOs have two major functions within their federal charter: (i) increasing the number of registered

organ donors through community outreach and public education, and (ii) coordinating the organ
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donation process by arranging for the recovery and transplant of donated organs to a matching organ

recipient.

      3.        OPOs work closely with donor hospitals and transplant centers to facilitate organ

donation and transplantation. Plaintiff operates as an OPO and is required by CMS to submit

Medicare cost reports annually to determine the amounts payable under Medicare associated with

the procurement of kidneys. The cost report includes direct costs, overhead costs, and

administrative and general costs associated with organ procurement.

      4.        This civil action arises from an administrative appeal process relating to Plaintiff’s

claims for costs within its Medicare cost reports for a span of 5 years.

                                  JURISDICTION AND VENUE

      5.        This action involves claims to set aside an unlawful agency final decision that is

actionable under the Administrative Procedures Act and a claim for a Writ of Mandamus to require

the Secretary to carry out his non-discretionary duty to reimburse Plaintiff for reasonable costs.

Jurisdiction for these claims is proper under 28 U.S.C. § 1331, and 28 U.S.C. § 1361.

      6.        Venue is proper in this judicial district in accordance with 28 U.S.C. § 1391(e).

                                             PARTIES

      7.        The Plaintiff is a Medicare-certified OPO located in Azusa, California. Plaintiff is

the OPO for a seven-county region in Southern California that includes Los Angeles, Riverside,

Orange, Santa Barbara, Ventura, San Bernardino, and Kern counties.

      8.        Defendant, Xavier Becerra, is the Secretary of the United States Department of

Health and Human Services (“HHS”) and is sued in his official capacity. HHS is the Federal agency

that administers CMS.      CMS is the Federal agency to which the Secretary has delegated

administrative authority over the Medicare program, which is established under title XVIII of the




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Social Security Act. See 42 U.S.C. § 1395 et seq. References to the Secretary are meant to refer

to him, his subordinate agencies and officials, and to his official predecessors or successors as the

context requires.

                                           ALLEGATIONS

                            Reasonable Cost Reimbursement for OPOs

       9.         Pursuant to Section 1138(b)(1) of the Social Security Act, the Secretary shall

reimburse OPOs under title XVIII (the Medicare program) for the reasonable costs of procuring

organs provided that, among other things, the OPO has been designated as a “qualified organ

procurement organization” as defined in Section 371(b) of the Public Health Service Act.

      10.         Section 1861(v)(l )(A) of the Social Security Act defines “reasonable cost” as “the

cost actually incurred, excluding therefrom any part of incurred cost found to be unnecessary in the

efficient delivery of needed health service . . . .” 42 U.S.C. § 1395x(v)(l)(A). The statute authorizes

the Secretary to promulgate regulations that further define the costs that are considered to be

reasonable. Id.

      11.         Pursuant to this authority, the Secretary has promulgated regulations at 42 C.F.R.

Part 413 that incorporate the standards by which he will determine whether costs are reasonable.

For example, reasonable costs must be actually incurred and related to patient care. Reasonable

costs include not only costs that are directly related to patient care but also the indirect costs—

overhead and general and administrative expenses—that are necessary to support the direct costs

of care. The Secretary’s regulations acknowledge that “[t]he costs of providers’ services vary from

one provider to another and the variations generally reflect differences in scope of services and

intensity of care.” It is only if a provider’s costs are “substantially out of line” with other provider’s

that the variation in cost might be reviewed as potentially unreasonable. 42 C.F.R. § 413.9.




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      12.       For OPOs, the Secretary recognizes that reasonable costs include direct costs, such

as kidney acquisition costs, and indirect costs such as the costs of public education for organ donor

awareness. Because each OPO has a statutorily prescribed mission to increase public awareness

of, and encourage, organ donation, the Secretary’s rules permit OPOs to seek reimbursement for

their reasonable costs of educating the public regarding organ donation. Indeed, given the regional

nature of OPO activities, investment into community engagement and education has a direct

correlation with increasing organ donation in those same communities.

                           Cost Reports and the OPO Appeals Process

      13.       OPOs file a cost report annually with a Medicare Administrative Contractor

(“MAC”). The cost report includes all the direct and indirect costs incurred for the procurement of

organs and other activities of the OPO such as its public education activities. Because Medicare

only reimburses for the costs incurred for the procurement of kidneys, the cost report allocates the

OPOs costs to reimbursable and non-reimbursable organs. Once submitted, the MAC reviews the

cost report to determine, among other things, whether the costs claimed by the OPO meet the

standard for reasonable cost reimbursement. When its review is completed, the MAC issues a

written notice reflecting the contractor's final determination of the total amount of reimbursement

due the provider, called a Notice of Program Reimbursement (“NPR”).

      14.       The Secretary has adopted a set of regulations that permit an OPO to seek

administrative review if it is dissatisfied with the MAC’s final payment determination as reflected

in the NPR and the amount in controversy is $1,000 or more. 42 C.F.R. § 413.420(g) (permitting

OPOs to seek review under the procedures set forth in 42 C.F.R. §§ 405.1811 through 405.1833).

      15.       The first level of appeal is with a contractor hearing officer who is appointed by the

Secretary. The hearing officer reviews the MAC’s NPR to determine whether the final payment




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determination is consistent with the Secretary’s rules and regulations regarding reasonable cost

reimbursement for organ procurement activities. The hearing officer’s decision reflects the final

decision of the Secretary unless it is further reviewed. 42 C.F.R. § 405.1833.

      16.         An OPO that is dissatisfied with the hearing officer’s decision is entitled to further

administrative review, or the hearing officer’s decision may be reviewed at the discretion of the

Administrator on his own motion. See 42 CFR § 405.1834(a). By regulation, the Administrator

has designated the CMS reviewing official to conduct this review on behalf of the Administrator.

The reviewing official considers whether the decision of the contractor hearing officer is consistent

with the controlling legal authority and the evidence in the record and issues a decision on behalf

of the Administrator. Id. The Secretary’s regulation further explains that “[n]o other individual,

entity, or party has the right to the review. . . .” Id. CMS’s regulation also states that “[a] decision

of affirmation, reversal, or modification by the CMS reviewing official is final and binding on each

party and the contractor. No further review or appeal of a decision is available.” 42 CFR §

405.1834(f)(1).

                                  Plaintiff’s Administrative Appeal

      17.         Plaintiff filed Medicare cost reports with the MAC for fiscal years ending (“FYEs”)

12/31/2008, 12/31/2009, 12/31/2010, 12/31/2011, and 12/31/2012 claiming reimbursement from

the Secretary for its reasonable costs for the procurement of kidneys.

      18.         For each cost report, the MAC disallowed specific items of costs claimed by the

Plaintiff, alleging that these expenses were not reasonable or necessary according to the Secretary’s

reasonable cost reimbursement rules. The MAC issued NPRs for each of these years, and as a result

of the MAC’s adjustments, the Plaintiff was denied certain of its Medicare reimbursement claimed

on its cost reports. The MAC’s disallowances were either unlawful and a misapplication of the




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Secretary’s reimbursement rules, or they were based upon factual determinations that are not

supported by evidence in the record. Plaintiff appealed each of these cost reports (FYEs 2008-

2012) to the contractor hearing officer challenging certain of the MAC’s disallowances.

      19.       The contractor hearing officer conducted a hearing to review eight reasonable cost

issues that were disallowed in each of the five cost reports. During the hearing, Plaintiff presented

witness testimony and identified record evidence to support its reasonable cost claims. The

contractor hearing officer issued a decision largely in favor of Plaintiff reversing in total or in part

six of the eight issues appealed by Plaintiff.

      20.       On August 27, 2020, the CMS reviewing official, acting on behalf of the

Administrator, issued a notice to Plaintiff taking “own-motion” review over all eight issues that

were decided in the contractor hearing officer’s decision.

      21.       On May 4, 2023, the CMS reviewing official issued his decision upholding the

hearing officer’s decision that Plaintiff’s claimed costs were reasonable in all but two instances. In

those instances, the reviewing official did not rule against the Plaintiff, but remanded the issue back

to the contracting officer for further proceedings.

      22.       The CMS reviewing official’s decision marked the final step in Plaintiff’s long

traverse through the full administrative review provided for under the Secretary’s regulations—a

journey that took more than a decade—first appealing the MAC’s determinations under 42 C.F.R.

§ 413.420(g); then participating in a contractor hearing as set forth in 42 C.F.R. §§ 405.1811

through 405.1833, and finally receiving a decision from the CMS reviewing official as set forth in

42 CFR § 405.1834. Under the Secretary’s regulations, the reviewing official’s final decision is

“final and binding on each party and the contractor” (but for the two issues remanded back to the

contractor hearing officer). “No further review or appeal of a decision is available” for the issues




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affirmed by the CMS reviewing official. 42 CFR § 405.1834(f)(1). The reviewing official’s

decision is the final decision of the Secretary.

                                 The Administrator’s Unlawful Review

      23.       Two days before the CMS reviewing official issued its favorable decision, the CMS

Office of the Administrator (acting through the Principal Deputy Administrator) sua sponte issued

Standing Order 2023-1, entitled “In Re: Interim Implementation of Optional Discretionary

Administrator Review of CMS Reviewing Official Determination with Respect to Appeals Under

42 C.F.R. 413.420(g).”

      24.       Standing Order 2023-1 acknowledges that under 42 C.F.R. § 405.1834(f)(1) “[a]

decision of affirmation, reversal, or modification by the CMS reviewing official is final and binding

on each party and the contractor” and “[n]o further review or appeal of a decision is available.”

Nonetheless and despite the clear language of the regulation, the Standing Order claims that the

Administrator has the additional authority under this existing regulation to review the CMS

reviewing official’s decision.

      25.       Standing Order 2023-1 is unpublished and not available on CMS’s website. Upon

information and belief, it has not been made available to the public generally. Plaintiff received

notice of the Standing Order only because it accompanied an official copy of the CMS reviewing

official’s favorable decision.

      26.       Citing Standing Order 2023-1, the Administrator took review of the reviewing

official’s final decision. On July 31, 2023, the Administrator issued a decision which reversed each

of the issues for which the reviewing official had issued a decision favorable to Plaintiff. Standing

Order 2023-1 is an unlawful attempt to circumvent the Secretary’s long-standing regulations




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pursuant to which he delegated his executive power to review and make final payment

determinations to the CMS reviewing official.

                                       CAUSES OF ACTION

                                           COUNT I
                            Violation of the APA (5 U.S.C. § 706(2))
                      (Arbitrary, Capricious, and Unlawful Agency Action


      27.       Plaintiff hereby incorporates by reference paragraphs 1 through 26.

      28.       As determined by the contractor hearing officer and the CMS reviewing official,

certain items of cost claimed by the Plaintiff were reasonable and necessary and complied with the

Secretary’s rules and regulations regarding cost reimbursement for OPOs. The Administrator’s

decision to reverse the CMS reviewing official with regard to the reasonableness of these costs is

inconsistent with the Secretary’s rules and regulations or it is unsupported by substantial evidence

in the administrative record. The Administrator’s final decision is, therefore, arbitrary, capricious,

in violation of law and thus violates 5 U.S.C. § 706(2).

                                             COUNT II
                              Violation of the APA (5 U.S.C. § 706(1))
                               (Agency Action Unlawfully Withheld)

      29.       Plaintiff hereby incorporates by reference paragraphs 1 through 26.

      30.       The Secretary’s regulations at 42 C.F.R. § 405.1834(f)(1) prohibit any further

administrative review of the CMS reviewing official’s decision. The Secretary’s regulations at 42

C.F.R. § 405.1834(a)(1) also provide that the CMS reviewing official issues his decision “on behalf

of the Administrator” and that the reviewing official’s decision is the final decision of the Secretary.

The Secretary is required by his own regulations to implement the final payment determination set

forth in the reviewing official’s final decision. By issuing Standing Order 2023-1, taking review of




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and reversing the CMS reviewing official’s final decision, the Secretary, by and through the CMS

Administrator, has withheld the final payment determination in violation of 5 U.S.C. § 706(1).

                                           COUNT III
                            Violation of the APA (5 U.S.C. § 706(2))
                     (Arbitrary, Capricious, and Unlawful Agency Action)

      31.       Plaintiff hereby incorporates by reference paragraphs 1 through 26.

      32.       The Secretary’s regulations at 42 C.F.R. § 405.1834(f)(1) prohibit any further

administrative review of the CMS reviewing official’s decision. By issuing Standing Order 2023-

1, taking review of and reversing the CMS reviewing official’s final decision, the Secretary, by and

through the CMS Administrator, acted arbitrarily, capriciously, in violation of the law and thus

violated 5 U.S.C. § 706(2).

      33.       The Secretary’s regulations at 42 C.F.R. § 405.1834(a)(1) also provide that the

CMS reviewing official issues his decision “on behalf of the Administrator” and that the reviewing

official’s decision is the final decision of the Secretary. By issuing Standing Order 2023-1, and

reversing the reviewing official’s final decision, the Secretary, by and through the Administrator,

has violated his own regulation, acted arbitrarily, capriciously, in violation of the law and thus

violated 5 U.S.C. § 706(2).

                                          COUNT IV
                               Violation of APA (5 U.S.C. § 553)
                              (Notice-and-Comment Rulemaking)

      34.       Plaintiff hereby incorporates by reference paragraphs 1 through 26.

      35.       By issuing Standing Order 2023-1, taking review of the CMS reviewing official’s

final decision, and issuing the Administrator’s decision on July 31, 2023, the Secretary, by and

through the Administrator, violated the APA’s notice-and-comment rulemaking requirement by




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effecting a substantive change in the contractor hearing appeal procedures regulation without going

through the necessary notice-and-comment rulemaking process.

      36.       By issuing Standing Order 2023-1, taking review of the CMS reviewing official’s

final decision, and issuing the Administrator’s decision on July 31, 2023, the Secretary, by and

through the Administrator, violated the APA’s notice-and-comment rulemaking requirement by

issuing Standing Order 2023-1 in an unpublished, clandestine manner and then relying on it to

reverse the CMS reviewing official’s decision in Plaintiff’s case.

                                           COUNT V
                                Violation of the Medicare Statute
                               (Notice-and-Comment Rulemaking)

      37.       Plaintiff hereby incorporates by reference paragraphs 1 through 26.

      38.       The Medicare statute requires the Secretary to subject any rules, requirements, or

other policy statements that impact a provider’s payment to notice-and-comment rulemaking. 42

U.S.C. § 1395hh(a)(2); Azar v. Allina Health Servs., 139 S. Ct. 1804 (2019).

      39.       By issuing Standing Order 2023-1, taking review of the CMS reviewing official’s

final decision, and issuing the Administrator’s decision on July 31, 2023, the Secretary, by and

through the Administrator, violated the Medicare statute’s notice-and-comment rulemaking

requirement by effecting a substantive change in the contractor hearing appeal procedures

regulation without going through the necessary notice-and-comment rulemaking process.

      40.       By issuing Standing Order 2023-1, taking review of the CMS reviewing official’s

final decision, and issuing the Administrator’s decision on July 31, 2023, the Secretary, by and

through the Administrator, violated the Medicare statute’s notice-and-comment rulemaking

requirement by issuing Standing Order 2023-1 in an unpublished, clandestine manner and then

relying on it to reverse the CMS reviewing official’s decision in Plaintiff’s case.




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                                               COUNT VI
                                               Mandamus

      41.           Plaintiff hereby incorporates by reference paragraphs 1 through 26.

      42.           Plaintiff is entitled to a writ of mandamus enforcing the CMS reviewing official’s

decision and prohibiting the Administrator from remanding Plaintiff’s appeals to the MAC. See 28

U.S.C. § 1361. Plaintiff received a duly executed final decision from the CMS reviewing official

that is not subject to further review and reversal by the Administrator and which entitles Plaintiff

to reimbursement for procurement costs under Medicare. To date, this additional reimbursement

remains unpaid. The Secretary has a non-discretionary duty to implement the reviewing official’s

decision.

                                              COUNT VII
                                              All Writs Act

      43.           Plaintiff hereby incorporates by reference paragraphs 1 through 26.

      44.           The Secretary violated the Medicare statute and the APA by issuing Standing Order

2023-1, taking review of the CMS reviewing official’s final decision, and issuing the

Administrator’s decision on July 31, 2023. The All Writs Act provides that federal district courts

“may issue all writs necessary or appropriate in aid of their respective jurisdictions and agreeable

to the usages and principles of law.” 28 U.S.C. § 1651(a).

      45.           This Court, having jurisdiction over this Complaint, should issue an order

rescinding the Administrator’s Standing Order 2023-1 and vacating the Administrator’s decision in

Plaintiff’s case.

                                       REQUEST FOR RELIEF

 Plaintiff requests an Order:

                    a. Vacating the Administrator’s decision in Plaintiff’s case;




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      b. Vacating the Administrator’s Standing Order 2023-1;

      c. Reinstating the CMS reviewing official’s decision in Plaintiff’s case;

      d. Directing the Secretary to implement the reviewing official’s final decision;

      e. In the alternative, issuing a writ of mandamus ordering the Secretary to rescind

         Standing Order 2023-1 and reinstate and implement the CMS reviewing

         official’s decision in Plaintiff’s case;

      f. Should the Court find that the Administrator’s decision is procedurally lawful,

         reversing the Administrator’s determination on each issue as arbitrary,

         capricious, and unlawful under the Secretary’s reasonable cost reimbursement

         regulations for OPOs;

      g. Requiring the agency to pay legal fees and costs of suit incurred by the Plaintiff;

         and

      h. Providing such other relief as the Court may consider appropriate.




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                                   Respectfully submitted,



                                   /s/ Mark D. Polston
                                   Mark D. Polston, D.C. Bar No. 431233
                                   Michael LaBattaglia, D.C. Bar No. 1601580
                                   KING & SPALDING LLP
                                   1700 Pennsylvania Avenue, N.W.
                                   Suite 900
                                   Washington, D.C. 20006
                                   202.626.5540 (phone)
                                   202.626.3737 (fax)
                                   MPolston@kslaw.com
                                   MLaBattaglia@kslaw.com


                                   Attorneys for Plaintiff




Date: September 29, 2023




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